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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                              CASE NO. 16-25291-CIV-COOKE/TORRES

  DENISE       PINEDA,        and   others
  similarly-situated,

                 Plaintiff,

  vs.

  PESCATLANTIC GROUP, LLC, a
  Florida limited liability company, and
  CESAR CALVO, individually,

              Defendants.
  ___________________________________/

                              PLAINTIFF’S STATEMENT OF CLAIM

         COMES NOW Plaintiff, DENISE PINEDA, by and through her undersigned attorney,

  hereby complies with the Order of Court-Mandated requirements under the Fair Labor Standards

  Act [D.E. 7], as follows:

         Plaintiff seeks to recover money damages for unpaid overtime wages pursuant to the Fair

  Labor Standards Act, 29 U.S.C. §§ 201-219 and for unlawful retaliatory termination of her

  employment in violation of 29 U.S.C. § 215(a)(3).

         Unpaid Overtime

         Plaintiff was employed with Defendants from March 25, 2016 through October 28, 2016 as

  a Logistics Operations Coordinator. She was paid approximately $19.12 per hour and worked an

  average of 5 to 6 days a week. During her employment Plaintiff was required to work off-the-clock

  and was not paid time-and-one-half for the hours she worked in excess of 40 hours per week.

  Plaintiff estimated her damages as follows:

  March 25, 2016 through October 28, 2016
  25 overtime hours x $28.68 per hour = $717.00 x 31 weeks = $22,227.00 x 2 (liquidated) =
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  $44,454.00.

         Retaliation

         Additionally, Plaintiff's employment was unlawfully terminated on October 28, 2016.

  Defendants retaliated against Plaintiff after having complained about not being paid overtime at

  time-and-one-half. As a result of the termination, Plaintiff has suffered lost wages.

                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the foregoing was furnished via

  transmission of Electronic Filing generated by CM/ECF, to Lawrence J. McGuinness, Esq. of

  McGuinness and Gonzalez, P.A., 3126 Center Street, Coconut Grove, Florida 33133, on this 18th

  day of January, 2017.

                                                        THE LAW OFFICES OF
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                                                        By: s/Edilberto O. Marban
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